                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

    SHIQIONG HUANG, CHRIS R.
    STOKOWSKI, EVERETT UHL,
    MARK J. HEARON and MARY T.
    PATTERSON, individually and on
    behalf of all others similarly situated,        Case No. 8:20-cv-02293-T-33TGW

                         Plaintiffs,

                  v.

    TRINET HR III, INC., TRINET HR                  PLAINTIFFS’ MEMORANDUM OF
    IV, INC., THE BOARD OF                          LAW IN OPPOSITION TO
    DIRECTORS OF TRINET HR III,                     DEFENDANTS’ MOTION TO
    INC., THE BOARD OF DIRECTORS                    DISMISS THE AMENDED
    OF TRINET HR IV, INC., THE                      COMPLAINT
    INVESTMENT COMMITTEE OF
    TRINET GROUP, INC., and JOHN
    DOES 1-30,

                         Defendants.



          Plaintiffs in the above-captioned action, by and through their undersigned

counsel, respectfully submit this opposition to Defendants’1 Motion to Dismiss.2

          I.     INTRODUCTION




1
  “Defendants” refers to TriNet HR III, Inc. (“TriNet III”), TriNet HR IV, Inc. (“TriNet IV”)
(collectively, “TriNet”), The Board of Directors of TriNet HR III, Inc. (the “Board III”), The Board
of Directors of TriNet HR IV, Inc. (the “Board IV”) (collectively, the “Board”), The Investment
Committee of TriNet Group, Inc. (the “Committee”), and John Does 1-30.
2
 Defendants’ Motion To Dismiss The Amended Complaint (ECF No. 29) is referred to herein as
“Defs. Mem.” All references to “¶” or “Complaint” are to the First Amended Complaint (ECF No.
23).
        Defendants’ suggestion that the allegations in this case are somehow infirm

because of the large number of cases filed by Plaintiffs’ counsel is not well taken.

Defendants not surprisingly fail to acknowledge the avalanche of decisions – no less

than twenty-two to date that have upheld the identical type of claims in cases filed by

the undersigned counsel.3 As one of these courts aptly remarked in reference to

Capozzi Adler, “the Court rejects Defendants’ argument that because Plaintiffs have

retained counsel that have filed factually similar cases, their allegations are so generic

that they cannot survive a motion to dismiss. There is no rule against hiring counsel

that specialize in one cause of action or type of lawsuit, and the Court declines to




3
  See, e.g., Dearing, et al. v. IQIVIA, Inc., et al., No 1:20-cv-00574-WO-JEP (ECF No. 30) (M.D.N.C.
Sept. 21, 2021) (upholding allegations that plan fiduciaries selected higher-cost investment options
when lower cost options were available and overpaid for recordkeeping) (attached to Gyandoh Decl.
as Exhibit 1); Garcia v. Alticor, Inc., No. 1:20-cv-01078-PLM-PJG (ECF No. 22), at *6 (W.D. Mich. Aug.
9, 2021) (same) (Gyandoh Decl. as Exhibit2); In re Omnicom ERISA Litig., 2021 WL 3292487 (S.D.N.Y.
Aug. 2, 2021) (same); In re Biogen ERISA Litig., 2021 WL 3116331 (D. Mass. July 22, 2021) (same); In
re Prime Healthcare ERISA Litig., 2021 WL 3076649 (C.D. Cal. July 16, 2021) (same); McNeilly v.
Spectrum Health Sys., No. 1:20-cv-00870-PLM-PJG (ECF No. 21) slip op. (W.D. Mich. July 16, 2021)
(same) (attached to Gyandoh Decl. as Exhibit 3); Khan v. PTC, Inc., No. 1:20-cv-11710-WGY (ECF
No. 34) (D. Mass. April 6, 2021) (same); Bilello v. Estee Lauder, Inc., et al., No. 1:20-cv-04770-JMF
(ECF No. 67) (S.D.N.Y., June 7, 2021) (same) (attached to Gyandoh Decl. as Exhibit 4); Nunez v. B.
Braun Medical, Inc., No. 5:20-cv-04195-EGS (ECF 49) slip op. (E.D. Pa. June 4, 2021) (same) (attached
to Gyandoh Decl. as Exhibit 5); In re Quest Diagnostics Inc. ERISA Litig., 2021 WL 1783274 (D.N.J.
May 4, 2021) (same); Blackmon v. Zachary Holdings, Inc., 2021 WL 2190907 (W.D. Tex. April 22, 2021)
(same); Peterson, et al. v. Insurance Offices, Inc., et al., 2021 WL 1382168 (D.N.J. April 13, 2021) (same);
McGowan v. Barnabas Health, Inc., 2021 WL 1399870 (D.N.J. April 13, 2021) (same); Kendall et al v.
Pharmaceutical Product Development, LLC, 2021 WL 1231415, at * 8, 10 (E.D.Pa. Mar. 31, 2020) (same);
Davis v. Magna Int’l of America, Inc., 2021 WL 1212579 (E.D. Mich. March 31, 2021) (same); Jones v.
Coca-Cola Consolidated, Inc., 2021 WL 1226551 (W.D.N.C. March 31, 2021) (same); McCool v. AHS
Management Company, Inc., 2021 WL 826756 (M.D. Tenn. March 4, 2021) (same); Parmer, et al. v. Land
O’Lakes, Inc., et al., 2021 WL 464382 (D. Minn. Feb 9, 2021) (same); In re Medstar ERISA Litig., 2021
WL 391701 (D. Md. Feb. 4, 2021) (same); Silva v. Evonik Corp., 2020 U.S. Dist. LEXIS 250206 (D.N.J.
Dec. 30, 2020) (same); Pinnell, et al. v. Teva Pharmaceuticals USA, Inc., et al., 2020 WL 1531870 (E.D.Pa.
Mar. 31, 2020) (same); Boley v. Universal Health Serv., Inc., 498 F.Supp.3d 715 (E.D. Pa. 2020) (same).



                                                     2
dismiss the complaint on this ground alone.” Alticor, No. 1:20-cv-01078-PLM-PJG

(ECF No. 22), at *6.

       To be sure, there is one common thread in the Complaint here and others filed

by Plaintiffs’ counsel. That is, the defendant-fiduciaries in these cases selected a slate

of investment options for their retirement plan participants that were imprudent due

to their high fees where identical or nearly identical alternative funds were available in

the marketplace, and the defendant-fiduciaries in these cases also saddled plan

participants with unreasonably high prices for plan recordkeeping services.

Specifically here, Defendants, inter alia (1) caused the Plans4 and participants to pay

for recordkeeping and administration costs far in excess of reasonable rates for a large

asset value plan when looking at other comparably-sized plans and fee surveys, and

(2) failed to switch to identical lower-cost share classes of funds already in the Plan.

       As addressed below, each of Defendants’ specific arguments for dismissal lack

merit. As an initial matter, contrary to Defendants’ argument, Plaintiffs do not need

to allege facts about Defendants’ actual process but can plead facts, as they have done

here, upon which a court may infer an imprudent process. “If Plaintiffs cannot state a

claim without pleading facts which tend systematically to be in the sole possession of

defendants, the remedial scheme of [ERISA] will fail, and the crucial rights secured by

ERISA will suffer.” Braden v. Wal-Mart Stores, Inc., 588 F.3d 598 (8th Cir. 2009).




4
 Plans refers to the TriNet 401(k) Plan (“TriNet III Plan”) and the TriNet Select 401(k) Plan (“TriNet
IV Plan”) (collectively, “Plans”).

                                                  3
      Additionally, due to its size, the Plan had substantial bargaining power to

negotiate for lower recordkeeping fees. Defendants attempt to utilize Requests for

Proposals (“RFP”) conducted by Defendants in 2015 and 2018 to rebut Plaintiffs’

allegations of an imprudent process, while ignoring Plaintiffs’ other allegations that,

when taken together, demonstrate the Defendants breached their fiduciary duties to

the Plans and their participants. As alleged in the Complaint, the RFPs conducted by

Defendants were clearly insufficient as they did not result in reduction of

recordkeeping fees to a reasonable rate. Just as Plaintiffs cannot allege imprudence by

only suggesting Defendants failed to conduct an RFP, a prudent process cannot be

presumed – as Defendants attempt to suggest – based only on the fact that Defendants

conducted an RFP. See Sacerdote et al. v. NYU, 2021 WL 3610355, at *9 (2d Cir. 2021)

(“In assessing whether a fiduciary fulfilled her duty of prudence, we ask ‘whether a

fiduciary employed the appropriate methods to investigate and determine the merits

of a particular investment,’ not merely whether there were any methods whatsoever.”)

(citation omitted).

      The remainder of Defendants’ arguments are equally meritless.          In short,

Plaintiffs have alleged sufficient facts to permit the matter to proceed into discovery

and Defendants’ motion to dismiss should be denied. 5


5
  Defendants’ argument that Plaintiffs do not allege they invested in the subject
investment options is demonstrably false because Plaintiffs allege they invested in the
Plans’ investments which are the subject of this lawsuit. ¶¶ 17-21. Defendants fail to
show that any more specificity is needed than that to confer Article III constitutional
standing. Khan, 2021 WL 1550929, at *2 (finding plaintiffs’ allegations that “they
invested in Plan investments which are the subject of this lawsuit” established Article
                                          4
      II.    STANDARD OF REVIEW IN BREACH OF FIDUCIARY
             ACTIONS

      “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 556 (2007)). “When evaluating a Rule 12(b)(6) motion, the

court must take the facts alleged in the complaint as true and construe them in the light

most favorable to the plaintiff.” Martinex Claros v. Taylor Lee & Asso., LLC, 2018 WL

7079995, at *2 (N.D. Ga. Sept. 18, 2018) (citing Resnick v. AvMed, Inc., 693 F.3d 1317,

1321-22 (11th Cir. 2012)).

      Courts recognize that in cases alleging imprudent fiduciary process, “a claim for

a breach of fiduciary duty under ERISA may survive a motion to dismiss—even absent

any well-pleaded factual allegations relating directly to the methods employed by the

ERISA fiduciary—if the complaint alleges facts that, if proved, would show that an

adequate investigation would have revealed to a reasonable fiduciary that the




III standing and adequately pled “injury and redressability stemming from PTC’s
alleged mismanagement of the specific funds in which they invested.”). Further, a suit
under 29 U.S.C. §1132(a)(2) is “brought in a representative capacity on behalf of the
plan as a whole,” and remedies under §1109 “protect the entire plan.” Braden, 588
F.3d at 593. Thus, plaintiffs may seek recovery on behalf of the entire plan, even if
they did not personally invest in every one of the funds that caused injury. See Parmer,
2021 WL 464382, at *3 (“The court finds that Braden is squarely on point and is
therefore dispositive, whereas defendants’ authority is inapposite.”); Larson v. Allina
Health Sys., 350 F.Supp.3d 780, 792 (D. Minn. 2018) (finding plaintiffs to have
established standing even though they were not invested in all the funds that were the
subject of the lawsuit). The overwhelming majority of courts agree.

                                           5
investment at issue was improvident.” Henderson v. Emory Univ., 252 F.Supp.3d 1344,

1325-6 (N.D. Ga. 2017) (quoting Pension Ben Guar. Corp. ex rel. St. Vincent Catholic

Medical Ctrs. Ret. Plan v. Morgan Stanley Inv. Mgmt., Inc., 712 F.3d 705, 718 (2d Cir.

2013)); see also Main v. Am. Airlines, Inc., 248 F.Supp.3d 786, 792 (N.D. Tex. 2017)

(quoting Braden, 588 F.3d at 596) (acknowledging same).

        III.    STATEMENT OF FACTS6

                A. Overview of the Plan

        From 2014 to 2017 the Plans’ assets under management ranged from more than

$960 million dollars to more than $2.7 billion dollars. ¶ 48. The assets under

management in the TriNet III Plan for all funds as of the end of 2018 was

$2,913,109,232 while the assets under management for the TriNet IV Plan at the end

of 2018 was $1,127,332,817. Id.

                B. Defendants’ Imprudence Cost the Plans Millions of Dollars in
                   Excessive Fees.

        Measured by several different benchmarks, during the Class Period Defendants

breached the duties they owed to the Plans.

                     1. Defendants Breached Their Fiduciary Duties in Failing to
                        Investigate and Select Lower Cost Alternative Funds.


6
  Defendants ask this Court to take judicial notice of close to 1,000 pages of documents. A court may
only take notice of certain facts without formal proof when the fact is “not subject to reasonable dispute
in that it is either (1) generally known within the territorial jurisdiction of the trial court or (2) capable
of accurate and ready determination by resort to sources whose accuracy cannot reasonably be
questioned.” FED. R. EVID. 201(b). The Eleventh Circuit recognizes judicial notice as “a highly
limited process” that requires caution because “the taking of judicial notice bypasses the safeguards
which are involved with the usual process of proving facts by competent evidence in district court.”
Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir. 1997).

                                                      6
      One indication of Defendants’ failure to prudently monitor the Plans’ funds is

that several funds during the Class Period were more expensive than comparable funds

found in similarly sized plans (plans having over 1 billion dollars in assets in the case

of the TriNet III Plan and $500 million and $1 billion in the case of the TriNet IV

Plan). Id. at ¶ 62. In 2018, for example, many of funds in the Plans had expense ratios

well above the median expense ratios for similarly sized plans. Id. at ¶ 63. The expense

ratios for funds in the TriNet III Plan were in some cases 320% above the ICI Median

(in the case of Transamerica Invesco International Growth Ret Acct PX) and 297%

above the ICI Median (in the case of Henderson Triton Ret Acct) in the same category.

Id. at ¶ 64 (listing nine funds). The expense ratios for funds in the TriNet IV Plan were

in some cases 112% above the ICI Median (in the case of JPMorgan Small Cap

Growth) and 79% above the ICI Median (in the case of Cohen & Steers Realty Shares)

in the same category. Id. at ¶ 65.

                 2. Defendants Failed to Utilize Identical Lower Fee Share Classes

      Yet another fiduciary breach caused by Defendants’ flawed investment

monitoring process resulted in the failure to identify available lower-cost share classes

of many of the funds in the Plans during the Class Period. Id. at ¶ 72. The lower cost

funds were identical in all ways except price and cost anywhere from 7% (in the case

of the American Funds New World when compared to the American Funds New

World R6) to 482% (in the case of the Transamerica State Street Emerging Markets

Index Ret Acct when compared with the State Street Emerging Markets Eq Idx K) less


                                           7
than the funds selected and maintained in the Plans by Defendants. Id. at ¶¶ 73-74

(listing 10 funds). Defendants’ failure to select these cheaper identical funds caused

the Plans to pay millions of dollars per year in unnecessary fees. Id. at ¶ 84.

                 3. Defendants Failed to Utilize Lower Cost Passively and Actively
                    Managed Funds.

      Another indication of Defendants’ imprudent process was Defendants’ failure

to consider materially similar but cheaper, better performing alternatives to the Plans’

investment options. Id. at ¶ 88. The lower cost alternatives in the TriNet III Plan cost

anywhere from 65% (in the case of the Transamerica American Funds New

Perspective Ret Acct compared to the T. Rowe Price Global Stock) and 2,083% (in the

case of the Transamerica Janus Henderson Triton Ret Acct compared to the Vanguard

Small Cap Growth Index I). Id. at ¶ 90 (listing nine funds).

                 4. Defendants Failed to Monitor or Control the Plans’
                    Recordkeeping Expenses.

      Recordkeeping and administrative services is a term used to describe a suite of

administrative services that include ““claims processing, trustee services, participant

education, managed account services, participant loan processing,” and a whole host

of other services. ¶ 98 “Nearly all recordkeepers in the marketplace offer this range

of services.” Id. “Plans with large numbers of participants can take advantage of

economies of scale by negotiating a lower per-participant recordkeeping

fee…[b]ecause recordkeeping expenses are driven by the number of participants in a

plan.” ¶ 99.


                                            8
       The Plans’ recordkeeper during the Class Period was Transamerica and

MassMutual. Id. at ¶ 97. Another indication of Defendants’ breach of their fiduciary

duties is that as the number of Plan participants and assets increased, the per

participant fee for recordkeeping and administration costs also went up instead of

going down as should have been the case. Id. at ¶ 110.7 The Plans’ per participant

administrative and recordkeeping fees were astronomical during the Class Period as

follows:


             Assets TriNet      Partic       Direct           Direct
    Year                                                                       Total          $PP
                  III           ipants      TransAm           TriNet

    2014     $956,107,454       31,840     $3,000,768        $154,084       $3,154,852      $99.08

    2015    $1,339,890,441      44,317     $4,184,645        $152,514       $4,337,159      $97.87
    2016    $1,874,038,569      57,110     $4,180,721        $299,635       $4,480,356      $78.45
    2017    $2,759,960,791      74,107     $6,366,992        $452,584       $6,819,576      $92.02

    2018    $2,886,542,111      88,647     $8,466,241        $415,575       $8,881,816     $100.19

    2019    $4,048,963,050      94,295     $9,790,802        $362,449      $10,153,251     $107.68



             Assets Tri Net     Partic                        Plan
    Year                                   MassMut                             Total         $PP
                   IV           pants                       Sponsor

    2014      $534,174,572      8,417      $1,687,957      $1,087,147       $2,775,104     $329.70
    2015      $625,121,243      9,876      $2,073,704       $903,005        $2,976,709     $301.41
    2016      $781,325,188      11,585     $2,211,284       $292,592        $2,503,876     $216.13

7
 “[T]he actual cost of administrative services is more dependent on the number of participants in the
plan.” There is no “logical or practical correlation between an increase in administrative fees and an
increase in plan assets.” Hewitt Associates, LLC, Be a Responsible Fiduciary: Ask the Right Questions
About 401(k) Plan Fees, Oct. 2008; see also Mercer Investment Consulting, Inc., DC Fee Management –
Mitigating      Fiduciary      Risk       and      Maximizing      Plan       Performance       (2013),
https://www.mercer.com/content/dam/mercer/
                                                  9
             Assets Tri Net   Partic                  Plan
    Year                               MassMut                      Total        $PP
                   IV         pants                 Sponsor

    2017     $1,001,575,831   11,877   $2,511,424   $584,693      $3,096,117   $260.68
    2018     $1,102,018,284   14,420   $1,862,288    $90,358      $2,122,646   $147.20
    2019     $1,457,582,629   16,167   $2,749,329   $101,912     $2,851,241    $176.36



Id. at ¶ 104.

       According to the NEPC 2019 Defined Contribution Progress Report, which

assessed 121 Defined Contribution Plans, plans with over 15,000 participants paid on

average $40 or less per participant in recordkeeping, trust, and custody fees. Id. at ¶¶

108-109. The average plan paid no more than $40 in recordkeeping and administrative

fees. Id. at ¶ 109. Some authorities have recognized that reasonable rates for large

plans typically average around $35 dollars per participant. Id. at ¶ 111.

       IV.      ARGUMENT

                A. Numerous Courts Have Upheld Allegations Analogous to Those
                   Pled in the Complaint.

       Even though Plaintiffs went through the administrative remedies exhaustion

process they came no closer to obtaining Investment Committee8 meeting minutes

(which Trinet refused to produce) and other information that would provide direct

evidence of Defendants’ deliberations regarding their decisions for the Plans. Even

if Trinet had produced meeting minutes this would only tell half the story. See

Sacerdote et al., 2021 WL 3610355, at *8 (“The fact that one document purports to

8
 “Investment Committee” refers to the Investment Committee of TriNet Group, Inc., and its
members.
                                             10
memorialize a discussion about whether or not to offer retail shares does not establish

the prudence of that discussion or its results as a matter of law.”). The Second Circuit

recognized the importance of “testimony” among other things that should accompany

documents. Id. Accordingly, Plaintiffs plead circumstantial facts that many courts

have found to state a prudence claim.

       In Silva, the Court reasoned based on plaintiffs’ citations to “news articles,

academic scholarship and specific examples of cheaper investment funds,” plaintiffs

adequately claimed defendants breached their duty of prudence. Silva, 2020 U.S. Dist.

LEXIS 250206, at *12. As in Silva, Plaintiffs’ Complaint here alleges near analogous

facts, comparisons to specific examples of lower cost funds and alternatives, and

citations to various articles, academic scholarship, and the median and average fees. 9

See Complt., ¶¶ 59-67, 72-84, 86-116. Pinnell involved almost a near analogous fact

pattern. Pinnell, 2020 WL 1531870 at *1 (alleging failure to select lower-cost share

classes of T.Rowe Price target date funds); see also McNeilly, No. 1:20-cv-00870-PLM-

PJG (ECF No. 21) at *9 (“The amended Complaint alleges that Defendants breached

their duty of prudence by some combination of the following facts:…that the

Committee could and should have selected identical but lower-cost share classes…;

that the recordkeeping and administrative costs of the Plan were excessive; and that

the Plan could have leveraged its large size to negotiate with and reduce recordkeeping



9
 See also Bouvy v. Analog Devices, Inc., 2020 WL 3448385, at *2 (S.D. Cal. June 24, 2020) (upholding
allegations that “the Plan’s investment expenses were higher than industry averages: at least 18 of the
20 mutual funds offered in 2016 had above-average expenses.”).

                                                  11
and administrative costs but failed to even attempt to do so. Plaintiffs support each of

these arguments with tables and charts comparing various investment options…”);

Peterson, 2021 WL 1382168, at * 5 (same); Nunez, No. 5:20-cv-04195-EGS (ECF 49)

slip op., at n.1 (“First, the plaintiffs point out that half of the funds in the Plan had

expense ratios that exceeded the median expense ratios for funds in the same

category.”); Kendall, 2021 WL 1231415, at *8, 11 (upholding allegations plan

fiduciaries selected higher-priced identical share classes and overpaid for

recordkeeping); Magna, 2021 WL 1212579, at *8, 11 (same); McCool, 2021 WL 826756,

at *5 (same); Parmer, 2021 WL 464382, at *6-7, 9 (same); see also MedStar, 2021 WL

391701, at *5-6 (upholding claims defendants breached their fiduciary duty in failing

to switch from the Fidelity Freedom K target date funds to the passively managed

funds); Coca-Cola, 2021 WL 1226551, at *4-5 (same); Alticor, No. 1:20-cv-01078-PLM-

PJG, at *9-14 (same).

       Courts across the nation, in addition to those cases cited above and in fn 3 supra,

have upheld nearly identical claims as those pled in this action.10



10
   See Sacerdote v. New York Univ., 2021 WL 3610355 (2d Cir. 2021) (upholding inter alia excessive
recordkeeping fee claim); Tracey et al. v. MIT, 2017 WL 4478239, * 2 (D.Mass. Oct. 4, 2017) (upholding
excessive fee claim); Falberg v. Goldman Sachs Group, Inc., 2020 WL 3893285, at * 11 (S.D.N.Y. July 9,
2020) (same); Feinberg v. T.Rowe Price Group, Inc., et al., 2018 WL 3970470, at * 7 (D. Md. Aug. 20,
2018) (same); Disselkamp, et al. v. Norton Healthcare, Inc. et al., 2019 WL 3536038 (W.D. Ky. Aug. 2,
2019) (same); Cassell v. Vanderbilt, 285 F.Supp.3d 1056, 1061 (M.D. Tenn. 2018) (same); Bell v. Pension
Committee of ATH Holding Company, LLC, 2017 WL 1091248, at * 4 (S.D. Ind. Mar. 23, 2017) (same);
Schultz et al. v. Edward Jones, 2018 WL 1508906, a * 3 (E.D.Mo. Mar. 27, 2018) (same); Johnson v.
Providence Health & Servs. et al., 2018 WL 1427421, at * 6 (W.D. Wash. Mar. 22, 2018) (same); Troudt
v. Oracle Corp., 2017 WL 1100876, at * 3 (D. Col. Mar. 22, 2017) (same); Henderson v. Emory Univ., 252
F.Supp.3d 1344, 1349 (N.D. Ga. May 10, 2017) (same).



                                                  12
              B. Defendants Breached Their Duty of Prudence By Implementing A
                 Flawed Process for Selecting the Plan’s Investment Options

                 1. Defendants Breached Their Fiduciary Duty By Maintaining
                    Higher Cost Funds When Identical Lower Cost Shares Were
                    Available.

       Defendants give short shrift to Plaintiffs’ claim that Defendants failed to offer

available identical lower-cost alternatives to some of the Plan’s investments. Defs.

Mem. at 15-17. That is because the law is not on their side. Courts within the Eleventh

Circuit have held, “plaintiffs have properly stated a claim that choosing retail-class

shares over institutional-class shares is imprudent.” Henderson, 252 F.Supp.3d at 1350-

51 (“the plaintiffs allege that the defendants did not use their bargaining power to

obtain the lower cost fees and that the lower cost options are the exact same as the

higher cost shares except for the actual fees charged. The plaintiffs assert that no

reasonable fiduciary would choose or be complacent with being provided retail-class

shares over institutional-class shares.”); Pledger v. Reliance Trust Co., 240 F.Supp.3d

1314, 1331-32 (N.D. Ga. 2017) (same).

       In Davis et al. v. Washington U., 960 F.3d 478, 484 (8th Cir. 2020), the Eighth

Circuit found that failure to gain access to cheaper identical funds is a “failure of effort

[or] competence” and “is enough to state a claim for breach of the duty of prudence.”




                                            13
960 F.3d at 483. Many courts recognize that: “[i]f defendants did, in fact, include

higher fee options when identical lower fee options were available, they failed to act

with the ‘care, skill and prudence’ required by ERISA.” Tracey, 2017 WL 4478239, *

2 (upholding excessive fee claim); McCool, 2021 WL 826756, at * 5 (same). Virtually

every court to consider a plan’s retention of a more expensive share class when a

cheaper share class was available, including Braden, Davis, Sweda, and now the Second

Circuit in Sacerdote, see supra fn. 10, has held it gives rise to a plausible claim for breach

of fiduciary duty.11

        Defendants’ excuses fall short. First, Defendants concede that in 2020 three of

nine funds were not in the lowest share class but remain silent with regard to the years

2014 to 2019. Defs. Mem. at 15. Moreover, Defendants’ statement that “the Plans

invested in institutional share classes for the overwhelming majority of options,” Defs.

Mem. at 15, n.26, is an indictment on their fiduciary process. “First, it appears that

the changes Defendants made may not have been in funds referenced in this case, so

the changes do not appear relevant. And second, the fact that Defendants made some

changes raises a question of fact – why didn’t Defendants move more or all of the

higher-cost share classes to a lower-cost group?” McNeilly, No. 1:20-cv-00870-PLM-

PJG (ECF No. 21) at 14.


11
   See also Parmer, 2021 WL 464382, at * 7; Disselkamp, 2019 WL 3536038, at * 4 (recognizing “Courts
examining this issue have concluded that investment in a retail class fund where an identical
institutional class fund with lower fees is available can violate the duty of prudence.”); Johnson et al. v.
Fujitsu Tech. and Bus. of Am., Inc., 250 F.Supp. 3d 460, 466-67 (N.D. Cal. Apr. 11, 2017) (holding
plaintiffs’ allegations regarding share classes supported a claim for breach of fiduciary duty); Krueger
v. Ameriprise Financial, Inc., 2012 WL 5873825, at *10-11 (D. Minn. Nov. 20, 2021) (same).

                                                    14
      Second, to the extent Defendants suggest the higher-cost share class was

justified because “revenue sharing is a ‘common and acceptable’ method for

compensating plan recordkeepers,” Defs. Mem. at 16, Defendants are conceding the

Plans’ participants were overcharged via revenue sharing. See McNeilly, No. 1:20-cv-

00870-PLM-PJG (ECF No. 21) at 17 (“Defendants acknowledge that they were in

higher-cost share classes when lower share classes were available” by not disputing

that revenue sharing was utilized).

      In Cassell, the court said “the appropriate inquiry on these claims involves issues

of fact, which cannot be determined on a motion to dismiss.” Cassell, 285 F.Supp.3d

at 1067. And in Disselkamp, “[d]efendants argue[d] this claim must be dismissed

because Defendants applied the higher fees collected from the retail class funds to pay

administrative fees through revenue-sharing.” 2019 WL 3536038, at *5. The court

rejected this argument because it was “not suited for a decision on a motion to

dismiss.” Id. It also noted that “while the revenue-sharing argument may eventually

mitigate liability and damages, it still remains to be seen whether Defendants prudently

investigated the higher share class investments before subjecting Plan participants to

those higher fees.” Id. The defendants in Parmer made a similar argument which the

court rejected. Parmer, 2021 WL 464382, at * 7.

      Lastly, the Court in McNeilly v. Spectrum Health Sys. astutely recognized that “the

fact that Defendants retained higher-cost shares to provide more basis for revenue




                                          15
sharing supports the inference that funds were not selected on their merits.” Id. at 18.

This court should reach the same conclusion.12

                    2. The Other Alleged Indicia of Imprudence Considered Together
                       Leads to An Inference that the Plan Fiduciaries Engaged In An
                       Imprudent Fund Monitoring Process.

                         1. The ICI Chart is a Useful Measurement.

        The parties dispute the accuracy of certain of the funds expense ratios. See ¶ 64,

n. 9.13 Nevertheless, Defendants question the usefulness of the Complaint’s utilization

of median and average fee comparisons even if Plaintiffs’ assessment of expense ratios

were correct. Defs. Mem. at 11-14.14 Notwithstanding Defendants’ criticism of the



12
  Defendants’ reliance on Seventh Circuit authority, such as Hecker v. Deere & Co., 556 F.3d 575 (7th
Cir. 2009), Loomis v. Exelon Corp., 658 F.3d 670 (7th Cir. 2011), and Divane v. Northwestern Univ., 953
F.3d 980 (7th Cir. 2020) on this point is unhelpful. Divane is up on appeal before the Supreme Court.
See Hughes et al. v. Northwestern Univ., 2021 WL 2742780, at *1 (2021); see also Br. for the United States
as Amicus Curiae at 1, 8, Hughes v. Northwestern Univ., No. 19-1401 (May 25, 2021) (Solicitor General
argued if petitioners (plaintiffs) succeed in proving respondents maintained high-cost retail-class
mutual funds in the plan when identical lower-cost share classes were available, “then respondents
breached ERISA’s duty of prudence by offering higher-cost investments to the Plans’ participants
when respondents could have offered the same investment opportunities at a lower cost.”). The
Seventh Circuit diverges from the Third and Eighth Circuits regarding allegations a plaintiff needs to
plead in order to survive a motion to dismiss claims of excessive fees.
13
  Plaintiffs’ allegations are based on actual fund prospectuses. For example, Plaintiffs allege the
Transamerica Janus Henderson Triton Ret. Acct. charged an expense ratio of 1.31.%. ¶ 73. The
Transamerica prospectus for this fund confirms as much. See Exhibit 6 Gyandoh Decl. Defendants’
challenge of the various expense ratios alleged in the Complaint raises a question of fact.
14
    The cases Defendants cite are not dispositive because they involve challenges to
specific funds as opposed to the process utilized by defendants that resulted in selection of several
imprudent funds, including ones invested in by plaintiffs. See Patterson v. Morgan Stanley, 2019 WL
4934834, at *2 (S.D.N.Y. Oct. 7, 2019) (“Plaintiffs focus on thirteen investment options.”). Relying
on precedent set forth by district courts across California, the court in Wehner v. Genentech, Inc., rejected
the plaintiffs’ comparisons of actively and passively managed funds. Wehner v. Genentech, Inc., 2021
WL 507599, at *10 (N.D. Cal. Feb. 9, 2021). As addressed infra, most courts have held that the
adequacy of Plaintiffs’ benchmarks raises issues of facts not suitable for resolution at the motion to
dismiss. Amron v. Morgan Stanley Inv. Advisors, Inc., 464 F.3d 338, 340 (2d Cir. 2006) involved claims
brought under section 36(b) of the Investment Company Act of 1940, not ERISA. Dupree v. Prudential
Ins. Co. of Am. is also not instructive to the present motion to dismiss because Defendants cite to the

                                                     16
use of the ICI median and averages charts, several courts have upheld claims based in

part on the chart. See Silva, 2020 U.S. Dist. LEXIS 250206, at *13. (“Plaintiffs allege

that most of the investment options in the Plan charged higher-than-average fees, with

reference to median fees published by the Investment Company Institute and the fees

of alleged comparators.”); Pinnell, 2020 WL 1531870 at * 5 (“[Plaintiffs] included three

tables comparing investment options offered by the Plan to similar or identical lower-

fee alternatives and comparing expense ratios to median fees in the same category);

Bouvy, 2020 WL 3448385, at * 2 (“the Plan’s investment expenses were higher than

industry averages: at least 18 of the 20 mutual funds offered in 2016 had above-average

expenses.”); see generally McCool, 2021 WL 826756 (upholding allegations based on ICI

median charts); Magna, 2021 WL 1212579, at *7 (court rejected defendants challenges

of the ICI study finding “[t]o the extent that Defendants argue the merits of Plaintiffs’

comparisons, such arguments are premature in a motion to dismiss”). Moreover,

Defendants are attempting to improperly inject their interpretation of the ICI median

fee data which is improper at this stage of the litigation.15

                        2. Whether Plaintiffs’ Alleged Comparators are Meaningful
                           Comparators for the Challenged Plan Funds is Not Suitable
                           for Resolution at the Motion to Dismiss Stage

court’s post-trial amended findings of fact and conclusions of law. Dupree v. Prudential Ins. Co. of Am.,
2007 WL 2263892, at *20 (S.D. Fla. Aug. 7, 2007).
15
  Defendants argue that the expense ratios of the Plans’ funds fall within a presumptively reasonable
range. Defs. Mem. at 14. No court has endorsed a “reasonable range” rationale. See Troudt, 2017
WL 1100876, at *1 (“[h]eeding [] admonitions of [pertinent case law], the court cannot adopt
defendants’ proposal to dismiss Count I of the complaint on the theory that the plan’s fee structure fell
within a presumptively reasonable range of expense ratios.”); Henderson, 2017 WL 2558565 at *2
(rejecting argument that “the Plans’ investment options offer a range of expense ratios from .07% to
1.41%, and that many courts have found this range to be reasonable.”).

                                                   17
        Defendants ultimately take issue with Plaintiffs’ choice of comparators, but the

argument raises issues of fact that require assessment on a more developed record. 16

See Silva, 2020 U.S. Dist. LEXIS 250206, at *13 (quoting Nicolas v. Trustees of Princeton

Univ., No. 17- 3695, 2017 WL 4455897, at *5 (D.N.J. Sept. 25, 2017)) (an inquiry into

‘whether the alternative funds Plaintiff[s] suggest[ ] are apt comparisons’ is a question

of fact unsuitable for resolution on a motion to dismiss.); McCool, 2021WL 826756, at

*5 (“the appropriate inquiry on these claims involves issues of fact, which cannot be

determined on a motion to dismiss”); Cassell, 285 F.Supp.3d at 1067 (same); Cryer v.

Franklin Templeton Resources Inc., 2017 WL 818788, at *4 (N.D. Cal. Jan. 17, 2017)

(same). 17

                    3. Plaintiffs’ Performance Benchmarks Are Plausibly Alleged

        Defendants criticize Plaintiffs’ use of 3- and 5-year periods of performance

comparisons to illustrate several of the Plan’s funds trailed in performance to its peer

funds. Among other things, Defendants suggest the 3- and 5-year performance periods


16
   Unsurprisingly, Plaintiffs’ allegations are easily distinguishable from those in Defendants’
authorities. Plaintiffs do not fault Defendants for failing to “pick the best performing fund,” as in
Meiners. Meiners v. Wells Fargo & Co., 898 F.3d 820, 823 (8th Cir. 2018). Instead, Plaintiffs question
Defendants’ monitoring processes because the Plans, inter alia, retained high cost mutual funds when
a lower cost share class identical in all ways except price was available to the Plan during the Class
Period.
17
   Defendants rely on Davis v. Salesforce.com to attack Plaintiffs’ benchmarks. See Defs. Mem. at 13.
Relying on Ninth Circuit precedent, the court in Salesforce failed to consider the totality of the
allegations as set forth in plaintiffs’ complaint as a whole and instead, isolated each allegation in its
conclusion it was “not persuaded by the reasoning” of “the cases on which plaintiffs rely [that] have
held allegations identifying lower-cost share classes are, without more, sufficient to state a claim for
imprudence.” Davis v. Salesforce.com, Inc., 2020 WL 5893405, at *5 (N.D. Cal. Oct. 5, 2020). White, et
al. v. Chevron Corp., 2016 WL 4502808 (N.D. Cal. Aug. 29, 2016), which Defendants also rely, is an
outlier that similarly relied on precedent outside the Eleventh Circuit.

                                                   18
are hindsight based. Defs. Mem. at 17. These arguments are unfounded. Plaintiffs’

allegations are based on detailed benchmarking and information, such as expense

ratios, available to fiduciaries at the time of the breaches Plaintiffs allege. ¶¶ 89-94.18

The Supreme Court requires fiduciaries to continually monitor investments from the

time the investments are selected to every moment during the Class Period. See Tibble

v. Edison Int’l, 135 S. Ct. 1823, 1828-29 (2015) (“Tibble IV”). It does not take hindsight

for the Plan fiduciaries to recognize selecting more expensive funds over nearly

identical cheaper funds – all things being equal – will result in the more expensive

funds underperforming. That is exactly what happened in this case. 19 See McNeilly,

No. 1:20-cv-00870-PLM-PJG (ECF No. 21) at *13 (court rejected defendants’

arguments that plaintiffs’ claims were based on hindsight finding “Plaintiffs bring

allegations that the Committee failed for years to perform sufficient review or

investigations into the Plan’s performance. Thus, it is plausible that Defendants had

access to performance data at various points throughout the relevant period.”); Alticor,

No. 1:20-cv-01078-PLM-PJG, at *13); Short v. Brown Univ., 320 F.Supp.3d 363, 372

(D.R.I. 2018) (rejecting argument allegations are based on hindsight); Sacerdote v. New

York Univ., 2017 WL 3701482, at *10 (S.D.N.Y. Aug. 25, 2017) (same); see also Silva,


18
   Plaintiffs’ comparisons demonstrate years of Defendants’ failure to continually monitor the
investments and take corrective measures when the funds repeatedly underperformed. This is not a
mere hindsight or results-based assessment the courts rejected in DiFelice v. U.S. Airways, Inc., 497 F.3d
419, 424 (4th Cir. 2007) or Roth v. Sawyer-Cleator Lumber Co., 16 F.3d 915, 917-18 (8th Cir. 1994).
19
  In Barchock v. CVS Health Corp., 2017 WL 1382517, at * 5 (D.R.I. April 18, 2017), the court reasoned
“the newly asserted facts in the Complaint focus primarily on the extent and duration of the Fund’s
investment in cash or cash-equivalent assets.” Id. These facts are inapposite to the facts in this case
where Plaintiffs are alleging they were saddled with unreasonable fees.

                                                   19
2020 U.S. Dist. LEXIS 250206, at *14 (“the relevant inquiry is whether the Investment

Committee prudently investigated cheaper alternative investments, regardless of the

degree of savings.”).

      The appropriate benchmarking period is a factual dispute that cannot be

resolved at this stage. See, e.g., Sacerdote, 2017 WL 3701482, at *10; Austin v. Union

Bank & Tr. Co., 2016 WL 8732420, at *10 (D. Or. Feb. 19, 2016) (opposing experts’

“conflicting opinions [on the appropriate benchmark duration] cannot be resolved on

summary judgment.”). Longer-term benchmarking can be appropriate if it is the result

of a conscious decision. See Jenkins v. Yager, 444 F.3d 916, 925 (7th Cir. 2006)

(evidence on summary judgment showed defendants intentionally pursued “a long-term

plan.”).

                4. Defendants Breached Their Fiduciary Duties in Failing to
                   Monitor the Plans’ Recordkeeping Fees.

      “Many allegations concerning fiduciary conduct, such as reasonableness of

‘compensation for services’ are ‘inherently factual question[s]’ for which neither

ERISA nor the Department of Labor give specific guidance.” Sweda, 923 F.3d 320,

329 (3d Cir. 2019); see also Magna, 2021 WL 1212579, at *11 (upholding allegations

plan fiduciaries overpaid for recordkeeping); McCool, 2021 WL 826756, at *5 (same);

Parmer, 2021 WL 464382, at *9 (same); Miller, 2020 WL 6479564, at * 10 (“the Court

recognizes the need to conduct discovery on this [recordkeeping] issue…”). When

considering Plaintiffs’ allegations of excessive recordkeeping fees, the Court should




                                         20
apply “a fair reading of the entire Complaint.” Rohan v. Saint Luke’s Health System, Inc.,

2020 WL 8410451, at *6 (W.D. Mo. June 22, 2020).

         Defendants ask this Court to presume prudence based on the fact that they

conducted RFPs for recordkeeping services twice during the Class Period. Defs. Mem.

at 18.    Plaintiffs do not dispute Defendants RFP initiatives, but rather allege “the

process they used was clearly deficient” because the process resulted in consideration

of “proposals from only three recordkeepers owned by insurance companies” when

“[i]t’s well known in the industry that insurance based recordkeepers are not marketed

towards institutional investors such as the Plans but are instead aimed at offering a

higher cost product for retail investors or smaller plans lacking the bargaining power

of the Plans, which combined had over $5 billion dollars in assets under management,

in 2019.” ¶ 113.20

         Defendants’ argument that Plaintiffs have failed to plead facts concerning the

specific services offered to the Plan, Defs. Mem. at 20, has been consistently rejected

by courts.21 See, e.g., Kruger, 131 F. Supp. 3d at 479 (“While Defendants claim that



20
   Defendants here misrepresent the court’s conclusions in Sacerdote v. New York Univ. In Sacerdote,
after an eight-day trial, which involved testimony by over twenty witnesses including expert witnesses
and over six hundred documents admitted into evidence, the court concluded defendants’ RFP
frequency and decision-making process “was considered, careful, and prudent under the particular
circumstances.” Sacerdote v. New York Univ., 328 F.Supp.3d, 273, 300 (S.D.N.Y. 2018). Marshall v.
Northrop Grumman Corp., 2017 WL 2930839 (C.D. Cal. Jan. 30, 2017) was a decision on a motion for
summary judgment.
21
  Young v. GM Inv. Mgmt. Grp., 325 F. App’x 31, 33 (2d Cir. 2009) does not counsel otherwise. The
court noted plaintiffs did not allege “specific services,” but unlike here, plaintiffs in that action alleged
“no facts concerning other factors relevant to determining whether a fee is excessive under the
circumstances.” Similarly, to the extent Wilcox v. Georgetown Univ., 2019 WL 132281, at * 10 (D.D.C.
Jan. 8, 2019) supports Defendants’ position, it is an outlier.

                                                     21
Plaintiff have not alleged facts regarding … the services provided, or how the fees

charged to the Plan were excessive in light of those services, this court finds that those

are the types of facts warranting discovery, and, therefore, dismissal at this stage is not

appropriate”); Krueger, 2012 WL 5873825, at *20 (same); Peterson, 2021 WL 1382168,

at * 7 (“Upon consideration, the Court finds that, at this stage, Plaintiffs need not

allege why the fees were not justified by the services provided when considering the

Plan as a whole.”); Davis, 2021 WL 1212579, at * 10 (“With respect to Defendants’

second argument, at this stage Plaintiffs need not allege why the fees were not justified

by the services provided when considering the plan as a whole.”); Parmer, 518

F.Supp.3d at 1307 (“Plaintiffs allege that the Plan has a large pool of participants and

assets, that the recordkeeping market is highly competitive, and that defendants paid

higher than reasonable recordkeeping fees despite their market strength.”).

       Another fact supporting Plaintiffs’ allegations is that even though the Plans’

number of participants increased by massive numbers year over year, the Plans’

fiduciaries failed to take advantage of the economies of scale by negotiating lesser per

participant recordkeeping and administrative fee amounts. In fact, the opposite was

true as the per participant amounts increased year after year. Further, it strains

credulity to assume that Defendants obtained recordkeeping and administrative

services for the Plan that were so far and above what its peers obtained that its off-the




                                            22
charts recordkeeping and administrative fees were justified. This is yet another reason

why discovery on these issues is needed instead of crediting Defendants’ bald

statements.

        Plaintiffs pled numerous examples of market comparisons and reasonable fee

benchmarks to support the claims the Plan’s recordkeeping fees were excessive. ¶¶

107-111, 115.22 Plaintiffs cite to the NEPC 2019 Defined Contribution Progress

Report, which took a survey of comparably sized plans (the average plan had $1.1

billion in assets and 12,437 participants). Id. at ¶ 108. Based on the NEPC survey,

plans with over 15,000 participants paid on average $40 or less in per participant

recordkeeping, trust and custody fees. ¶ 109. Here, the Plans’ recordkeeping fees

ranging from $78.45 to $329.70 per participant during the Class Period, ¶ 104, far

exceed the $40 per participant average paid by participants in comparably sized plans.

                C. The Administrator’s               Denial       of    Plaintiffs’      Claims       Was
                   Unreasonable.23



22
  The court in Wehner v. Genentech, Inc. noted, “[f]ederal district courts in California have held that a
plaintiff must plead administrative fees that are excessive in relation to the specific services the
recordkeeper provided to the specific plan at issue.” Wehner, 2021 WL 507599, at *5 (emphasis in
original). This standard would erroneously require ERISA plaintiffs to essentially prove any
recordkeeping allegations prior to reaching discovery and would functionally mandate that they
undertake the benchmarking required of plan fiduciaries. Additionally, Defendants here note in
Wehner, 2021 WL 507599, at *5, the Northern District of California rejected the plaintiffs’ claims
based on the 401k Averages Book (see Defs. Mem. at 20, n. 41), however other courts have upheld
analogous recordkeeping claims based on references to the 401k Averages Book. See Magna, 2021 WL
1212579, at *10-11; Kendall, 2021 WL 1231415, at *11 (“Plaintiffs allege that a per participant fee of
$20 is unreasonable when smaller plans average a per participant fee of $5 according to the 401k
Averages Book […] This claim ekes across the plausibility line.”).
23
   Defendants half-heartedly argue Plaintiffs failed to plead exhaustion. Defs. Mem. at 25, n. 54. This
is a disingenuous attack given that Defendants concede in their memorandum that Plaintiffs exhausted
their remedies and the parties jointly filed a motion to lift the stay in this matter because Plaintiffs had
exhausted administrative remedies. ECF 21.
                                                    23
        Defendants cannot reasonably suggest that the decision to deny Plaintiffs’

claims was reasonable. Defendants rely on a several cases, including Blackenship v.

Metropolitan Life Ins. Corp., that involved the denial of an individual employee’s claim

for disability benefits. See Blackenship v. Metropolitan Life Ins. Corp., 644 F.3d 1350, 1352

(11th Cir. 2011).24 None of the cases cited by Defendants involved claims advanced

on behalf of an entire plan and its participants brought pursuant to §§ 409 and 502 of

ERISA, 29 U.S.C. §§ 1109 and 1132. In fact, the analysis applied by Defendants from

Blackenship specifically sets forth a test “[f]or a court reviewing a plan administrator’s

benefits decision.” Blackenship, 644 F.3d at 1355. Plaintiffs’ claims here did not

involve a denial of a benefits decision, thus the “arbitrary and capricious” standard of

review applied by Defendants is of no consequence.

        A suit under 29 U.S.C. §1132(a)(2) seeks remedies under §1109 to “protect the

entire plan.”      Braden, 588 F.3d at 593.             Even if this Court were to find the

Administrator could deny the Named Plaintiffs’ individual claims, the Eleventh

Circuit’s test does not provide for an administrator’s denial of claims brought on behalf

of a class of plan participants.           As such, the representative claims here require

assessment before a federal district court.

        Additionally, Defendants suggest Plaintiffs did not “allege any basis to conclude

that the Administrator had a conflict of interest or was biased.” Defs. Mem. at 24.



24
  See also Glazer v. Reliance Standard Life Ins. Co., 524 F.3d 1241, 1243 (11th Cir. 2008) (case involving
administrative denial of employee’s claim for disability benefits); Epolito v. Prudential Ins. Co. of Am.,
737 F.Supp.2d 1364, 1366 (M.D. Fla. 2010) (denial of pension benefits).

                                                   24
The Eleventh Circuit defines “[a] pertinent conflict of interest” as an instance “where

the ERISA plan administrator both makes eligibility decisions and pays awarded

benefits out of its own funds.” Blackenship, 644 F.3d at 1355 (citing Metropolitan Life

Ins. Co. v. Glenn, 128 S.Ct. 2342, 2348 (2008)). While this conflict-of-interest standard

does not apply to claims advanced under §§ 1109 and 1132, a clear conflict still exists

here as Defendant TriNet denied Plaintiffs claim after its own administrator concluded

“the Plan records reflect a robust and thorough procedure for the selection and

monitoring of recordkeepers and investment options under the Plans.” See ECF No.

30-1, Exhibit 1 attached to Defendants’ Motion to Dismiss at p. 9 of 10. Effectively,

TriNet reviewed its own process and concluded its process was prudent. Defendants

cannot reasonably argue such a procedure was devoid of conflict of interest or bias.

Additionally, it is impossible to reach the Administrator’s conclusion without

engaging in substantial fact and expert discovery.       Absent significant document

production and written discovery, deposition testimony from both Parties and related

fact witnesses, assessment by experts from both Parties as to the reasonableness of

Defendants’ process and any resulting damages, it cannot be said that “reasonable

grounds” support the Administrator’s decision.

      V.      CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request the Court deny

Defendants’ motion to dismiss in its entirety, or in the alternative, to grant Plaintiffs

leave to amend.

Date: October 21, 2021                          /s/ Joseph M. Sternberg        .
                                           25
Joseph M. Sternberg, ESQ.
Florida Bar No.: 122447
joseph@landersandsternberg.com
(407) 495-1893
Fax: (407) 362-6325
722 W. Smith Street
Orlando, FL 32804

CAPOZZI ADLER, P.C.

/s/ Mark K. Gyandoh          .
Mark K. Gyandoh, Esquire
(Admitted Pro Hac Vice)
PA Attorney ID # 88587
Gabrielle P. Kelerchian, Esquire
PA Attorney ID #324248
312 Old Lancaster Road
Merion Station, PA 19066
markg@capozziadler.com
gabriellek@capozziadler.com
(610) 890-0200
Fax (717) 233-4103

Donald R. Reavey, Esquire
(Admitted Pro Hac Vice)
PA Attorney ID #82498
2933 North Front Street
Harrisburg, PA 17110
 donr@capozziadler.com
(717) 233-4101
Fax (717) 233-4103

Counsel for Plaintiffs and the Putative Class




  26
                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2021 a true and correct copy of the foregoing

document was filed with the Court utilizing its ECF system, which will send notice of such filing

to all counsel of record.




                                              By: /s/ Mark K. Gyandoh
                                                  Mark K. Gyandoh, Esq.




                                               27
